            Case 1:22-cv-00105-LMG Document 14                  Filed 08/05/22      Page 1 of 4




                 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. LEO M. GORDON, SENIOR JUDGE
AAA JEWELERS INC.

                           Plaintiff,
            v.                                                      Court No. 22-00105

UNITED STATES,

                           Defendant.

                                        ANSWER TO COMPLAINT

        Pursuant to Rule 7(a) of the Rules of the United States Court of International Trade, the

United States, defendant, responds to the allegations of the complaint of AAA Jewelers Inc.

(“AAA”), plaintiff, as follows:

        1.         Admits that this action was commenced on April 5, 2022. Further admits that the

remaining allegations in this paragraph are a statement of plaintiff’s legal claims but denies their

validity.

        2.         The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required.

        3.         Admits.

        4.         Denies the allegation plaintiff is the “real party in interest in this action” for lack

of knowledge or information sufficient to form a belief as to their truthfulness. Admits the

remaining allegations in this paragraph.

        5.         Admits that plaintiff protested the classification of the subject merchandise in

Protest No. 3901-20-112217 on May 19, 2020, but denies that the protest concerned the

classification of the subject merchandise “in liquidation”. The remaining allegations in this

paragraph consist of legal argument and/or conclusion of law to which no response is required.
         Case 1:22-cv-00105-LMG Document 14                Filed 08/05/22     Page 2 of 4




       6.      Admits that CBP denied Protest No. 3901-20-112217 on October 28, 2021.

       7.      Denies for lack of information or knowledge sufficient to form a belief as to the

truthfulness of the allegation.

       8.      The allegation in this paragraph consists of legal argument and/or conclusions of

law to which no response is required. To the extent this constitutes an allegation of fact, denies

for lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegation.

       9.      The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.

       10.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.

       11.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.

       12.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.




                                                 2
         Case 1:22-cv-00105-LMG Document 14                Filed 08/05/22      Page 3 of 4




       13.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.

       14.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies for

lack of information or knowledge sufficient to form a belief as to the truthfulness of the

allegations.

       15.     The allegations in this paragraph consist of legal argument and/or conclusions of

law to which no response is required. To the extent they constitute allegations of fact, denies.

Further denies that the last two digits of subheading 7113.29.2500 and subheading 7113.19.5090

are relevant, because they constitute a statistical suffix and are not part of 19 U.S.C. § 1202, the

statute that sets forth the Harmonized Tariff Schedule of the United States.




                                                  3
         Case 1:22-cv-00105-LMG Document 14                 Filed 08/05/22     Page 4 of 4




       WHEREFORE, defendant respectfully requests that judgment be entered dismissing this

action, overruling plaintiff’s claim, sustaining the decision of the appropriate U.S. Customs and

Border Protection official and the assessment thereunder, and granting defendant such other and

further relief as may be just and appropriate.

                                                     Respectfully submitted,



                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     PATRICIA M. McCARTHY
                                                     Director

                                                     JUSTIN R. MILLER
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                                                     /s/ Aimee Lee
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August 5, 2022




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